          Case 1:19-cr-00012-VSB Document 280 Filed 11/05/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                      11/5/2020
UNITED STATES OF AMERICA,

                        -against-
                                                                             ORDER
                                                                           19-CR-12 (VSB)
SHAKUR PINDER.

                                    Defendant.


VERNON S. BRODERICK, United States District Judge:

         Sentencing is scheduled in this matter for November 6, 2020 at 10:30 a.m. Members of

the public, and press may use 1-888-363-4749; access code: 2682448 to listen to the hearing.

         Per the SDNY COVID-19 COURTHOUSE ENTRY PROGRAM, anyone who appears at

any SDNY courthouse must complete a questionnaire and have their temperature taken. Please

see the instructions, attached. Completing the questionnaire ahead of time will save time and

effort upon entry. Only those individuals who meet the entry requirements established by the

questionnaire will be permitted entry.

         In addition, all parties must wear a mask or face shield upon entry into the courthouse,

and during any proceeding in the courthouse. Please contact chambers if you do not meet the

requirements.

SO ORDERED.

Dated:     November 5, 2020
           New York, New York

                                                                      ______________________
                                                                      Vernon S. Broderick
                                                                      United States District Judge
         Case 1:19-cr-00012-VSB Document 280 Filed 11/05/20 Page 2 of 2




All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire and have their temperature taken before being allowed
entry into that courthouse.
On the day you are due to arrive at the courthouse, click on the following weblink, or scan the
following QR code with a mobile device camera to begin the enrollment process. Follow the
instructions and fill out the questionnaire. If your answers meet the requirements for entry, you
will be sent a QR code to be used at the SDNY entry device at the courthouse entrance.
                               https://app.certify.me/SDNYPublic




Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire and temperature screening at an entry device at the courthouse.
